Case 1:21-cv-23213-BB Document 59 Entered on FLSD Docket 12/06/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 21-cv-23213-BLOOM/Otazo-Reyes

 YARIBEL RABELO-RODRIGUEZ,
 et al.,

        Plaintiffs,

 v.

 UNITED STATES SECRETARY
 OF HOMELAND SECURITY,

       Defendant.
 _____________________________/

                                               ORDER

        THIS CAUSE is before the Court upon the Joint Motion for Temporary Stay of Action,

 ECF No. [58] (“Motion”), filed on December 3, 2021. In the Motion, the parties state their intention

 to discuss a possible resolution of this action. The parties request a stay given the number of agency

 components that must confer regarding a possible resolution. The Court has reviewed the Motion and

 the record in this case, and is otherwise fully advised.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. The Motion, ECF No. [58], is GRANTED.

            2. This case is STAYED until January 14, 2022.

            3. The parties are directed to file a joint status report by no later than January 14,

                2022, apprising the Court of the outcome of their discussions and requesting a new

                scheduling order if necessary.

            4. The parties may move to dismiss plaintiffs from this action during the stay.

            5. The Clerk of Court shall CLOSE this case for administrative purposes only.

            6. To the extent not otherwise disposed of, all deadlines are TERMINATED.
Case 1:21-cv-23213-BB Document 59 Entered on FLSD Docket 12/06/2021 Page 2 of 2

                                             Case No. 21-cv-23213-BLOOM/Otazo-Reyes


        DONE AND ORDERED in Chambers at Miami, Florida, on December 4, 2021.




                                                _________________________________
                                                BETH BLOOM
                                                UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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